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 6

 7                               UNITED STATES DISTRICT COURT

 8                                        DISTRICT OF NEVADA

 9

10    SALVADOR MARTINEZ, in behalf of                   CASE NO.:      2:21-cv-01119-RFB-EJY
      himself and all others similarly situated,
11
                             Plaintiff,                 STIPULATION AND ORDER TO EXTEND
12                                                      TIME TO FILE SETTLEMENT
      v.                                                DOCUMENTS (ECF No. 22)
13
      LINKUS ENTERPRISES LLC; DOES 1
      through 50; inclusive,                            (First Request)
14

15                            Defendants.

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18             Defendant LinkUs Enterprises LLC (“Defendant”) and Plaintiff Salvador Martinez
19   (“Plaintiff”), by and through their respective counsel of record, hereby stipulate and seek an order
20   extending the time to file settlement documents from October 25, 2021, to October 29, 2021. ECF
21   No. 22.
22             The parties have tentatively resolved this matter and are finalizing the settlement
23   documents. The parties have one remaining term to finalize and then will be able to present the
24   settlement documents to this court for approval.
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     Case 2:21-cv-01119-RFB-EJY Document 24 Filed 10/25/21 Page 2 of 2



 1          This is the first request for an extension of time to file settlement documents. This request

 2   is not sought for any improper purpose or other reason of delay.

 3    Dated this 25th day of October.

 4     McDONALD CARANO LLP                               THIERMAN BUCK LLP

 5   By: /s/ Daniel I. Aquino                            By:      /s/ Joshua D. Buck
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15

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     IT IS SO ORDERED.
18

19   October 25, 2021
     _____________                                ______________________________________
       Date                                       UNITED STATES MAGISTRATE JUDGE
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